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                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DAVISON DESIGN &                                 )
DEVELOPMENT, INC.,                               )
                                                 )
               Plaintiff,                        ) No. 2:23-cv-00644-MJH
                                                 )
      v.                                         ) Honorable Marilyn J. Horan
                                                 )
MARIO SCORZA,                                    )
                                                 )
                Defendant.         )

                                           ORDER
                            30th                August
      AND NOW, this                    day of                 , 2023, upon

consideration of Plaintiff’s Motion to Extend Time to Respond to Motion to Confirm

Arbitration Award (“Motion to Confirm”), it is hereby ORDERED that the Motion is

GRANTED. Plaintiff shall file its Response to the Motion to Confirm (ECF 21) by

September 6, 2023.

                                            BY THE COURT:



                                                                             J.
                                            Marilyn J. Horan
                                            United States District Judge
